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                             No. 21-16756
    ______________________________________________________________

               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT
             _______________________________________________

                 TODD YUKUTAKE, and DAVID KIKUKAWA,
                          Plaintiffs-Appellees,
                                         v.
                  HOLLY T. SHIKADA, in her Official Capacity
                  as the Attorney General of the State of Hawai‘i,
                               Defendant-Appellant,1
                                        and
                   CITY AND COUNTY OF HONOLULU,
                               Defendant.2
            ________________________________________________

     On Appeal from the United States District Court for the District of Hawai‘i
        Honorable J. Michael Seabright, Chief United States District Judge
                       (Civil No. 1:19-cv-00578 JMS-RT)
    ______________________________________________________________

         EXCERPTS OF RECORD FOR DEFENDANT-APPELLANT
               HOLLY T. SHIKADA (VOLUME 1 OF 3)




1
  HOLLY T. SHIKADA succeeded CLARE E. CONNORS as Attorney General of
the State of Hawai‘i on December 10, 2021 and is automatically substituted as a
party pursuant to Fed. R. App. P. 43(c)(2).
2
  Defendant CITY AND COUNTY OF HONOLULU was dismissed with
prejudice by stipulation in the District Court on June 12, 2020. 3-ER-440-444
(ECF 53).


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 Hawai‘i                                  CARON M. INAGAKI                3835
KIMBERLY T. GUIDRY              7813      KENDALL J. MOSER                6515
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         Counsel for Defendant-Appellant HOLLY T. SHIKADA, in her
         Official Capacity as the Attorney General of the State of Hawai‘i




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  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT
                                                DISTRICT OF HAWAII


    TODD YUKUTAKE; DAVID                                    JUDGMENT IN A CIVIL CASE
    KIKUKAWA,
                                                              Case: CV 19-00578 JMS-RT
                  Plaintiff(s),
                                                                        FILED IN THE
                     V.                                        UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                      September 23, 2021
    CLARE E. CONNORS,
                                                                 At 3 o’clock and 20 min p.m.
                                                                 MICHELLE RYNNE, CLERK
                 Defendant(s).


  [ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

  [T] Decision by Court. This action came for consideration before the Court. The
            issues have been considered and a decision has been rendered.

                   On August 16, 2021, the Court issued an Order, ECF No. 107: “ORDER
            GRANTING PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT AND
            DENYING DEFENDANT'S COUNTER MOTION FOR SUMMARY
            JUDGMENT” (“August 16, 2021 Order”) and on September 23, 2021, the Court
            issued an Order, ECF No. 116: “ORDER (1) CLARIFYING REMEDIES; AND
            (2) GRANTING IN PART AND DENYING IN PART DEFENDANT'S MOTION
            FOR STAY PENDING APPEAL, ECF NO. 113” (“September 23, 2021 Order”).

                   IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of
            Plaintiffs pursuant to and in accordance with the August 16, 2021 and September
            23, 2021 Orders.



         September 23, 2021                                             MICHELLE RYNNE
    Date                                                        Clerk

                                                                     /s/ Michelle Rynne by J.O.
                                                                (By) Deputy Clerk


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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


 TODD YUKUTAKE, ET AL.,                         CIV. NO. 19-00578 JMS-RT

                     Plaintiffs,                ORDER (1) CLARIFYING
                                                REMEDIES; AND (2) GRANTING
        vs.                                     IN PART AND DENYING IN PART
                                                DEFENDANT’S MOTION FOR
 CLARE E. CONNORS,                              STAY PENDING APPEAL, ECF NO.
                                                113
                     Defendant.


   ORDER (1) CLARIFYING REMEDIES; AND (2) GRANTING IN PART
     AND DENYING IN PART DEFENDANT’S MOTION FOR STAY
                 PENDING APPEAL, ECF NO. 113

                                   I. INTRODUCTION

              In this case, Plaintiffs Todd Yukutake and David Kikukawa

(“Plaintiffs”) sued State of Hawaii Attorney General Clare E. Connors in her

official capacity (“Defendant”), arguing that two State of Hawaii firearm laws

violate the Second Amendment. ECF No. 78. The first, Hawaii Revised Statutes

(“HRS”) § 134-2(e), specifies, in relevant part, that permits to acquire handguns

(i.e., a pistol or revolver) expire after 10 days. The second, HRS § 134-3(c),

requires, in relevant part, that individuals physically bring their firearm to the

police department for in-person inspection and registration.




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             In a prior order, the court held unconstitutional the two challenged

portions of Hawaii’s firearm statutes. ECF No. 107; Yukutake v. Connors, 2021

WL 3625307, at *13 (D. Haw. Aug. 16, 2021) (granting summary judgment to

Plaintiffs). But with agreement of the parties, the court delayed entry of judgment

until September 22, 2021. ECF No. 112. Defendant subsequently filed a motion

requesting that the court stay its order pending appeal, ECF No. 113 (“Motion for

Stay Pending Appeal”).

             Because the court’s prior order did not specifically address whether

the unconstitutional portions of Hawaii’s firearm statutes are severable—i.e.,

whether just those portions are invalid or whether all of §§ 134-2 and 134-3 are

invalid—this Order analyzes severability and clarifies the remedies: Both the 10-

day permit use period, and the requirement of in-person inspection and registration,

are severed from their respective statutes and stricken. This Order also grants in

part and denies in part Defendant’s Motion for Stay Pending Appeal. A stay is

GRANTED for the injunction against the enforcement of the 10-day permit use

period. A stay is DENIED for the injunction against the enforcement of the in-

person inspection and registration requirement.

                               II. BACKGROUND

             Plaintiffs, residents of Honolulu, own multiple firearms and wish to

legally acquire additional guns, including handguns. ECF No. 78 at PageID


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## 557, 567–69. They allege that HRS §§ 134-2(e) and 134-3(c) violate their

Second Amendment right to bear arms. Id. at PageID # 570; see also ECF No. 85.

Section 134-2(e) provides, in relevant part, that “[p]ermits issued to acquire any

pistol or revolver [i.e., handguns] shall be void unless used within ten days after

the date of issue.” Section 134-3(c) provides, in relevant part, that firearms “shall

be physically inspected by the respective county chief of police or the chief’s

representative at the time of registration.”

              To lawfully acquire and possess a firearm in Hawaii, an applicant

must complete the following steps: First, in the case of handguns, the applicant

must obtain from the seller information identifying the firearm, including its make,

model, and serial number.1 Second, the applicant must visit the police station to

apply for a permit to acquire the firearm. See https://www.honolulupd.org/

information/firearms/. The applicant must provide personally identifying

information and, in the case of handguns, the gun’s make, model, and serial

number. See HRS § 134-2(e). Third, the applicant must wait 14 days while the

police department reviews the application, conducts background checks, and issues

the permit. Id. The police department retains one copy of the permit. Id.



       1
        When “[c]omplet[ing] the permit to acquire application,” applicants must provide the
“make, model, caliber, type, barrel length, and the serial number of all handguns.” https://
www.honolulupd.org/information/firearms/ (click on “Apply For Permit” tab) (last visited
September 22, 2021).

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             Fourth, the applicant must return to the seller to present the permit and

finalize the purchase of the firearm. Id. Applicants must purchase the firearm

within 10 days of permit issuance in the case of a handgun and within one year of

permit issuance in the case of a long gun. Id. Fifth, for handguns, the applicant

signs the permit and delivers it to the seller, who verifies the identity of the

applicant and the information identifying the handgun. HRS § 134-2(f). The seller

signs the permit and delivers it in person or by mail to the police department. Id.

Sixth, the applicant must register the firearm within 5 days of acquisition. HRS

§ 134-3(a). Firearm dealers licensed under State of Hawaii law or by the United

States Department of Justice can register without an in-person inspection using

“forms prescribed by the attorney general.” HRS § 134-3(c). All other applicants

must bring their firearm to the police station for registration and physical

inspection, including to confirm the firearm’s make, model, and serial number. Id.

             The court agreed with Plaintiffs that the 10-day use period for

handgun permits, and the requirement of in-person inspection and registration for

all firearms, are unconstitutional on their face. Yukutake, 2021 WL 3625307, at

*13. The court found that the Plaintiffs are burdened by those requirements

because the Plaintiffs must take time off work in order to complete their firearm

purchases in quick succession. Id. at *6, *11. But that burden is not severe, and

thus intermediate scrutiny is the appropriate standard of review. Id.


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             The court held that the Defendant failed to show that those

requirements were reasonably tailored to a substantial government interest. Id. at

*8, *12. The Defendant asserted that the 10-day permit use period promotes public

safety, but the Defendant provided no evidence and gave no meaningful

explanation in support of that assertion. Id. at *8. Likewise, the Defendant’s

assertions concerning the in-person inspection and registration requirement lacked

supporting evidence; the Defendant relied on “common sense” and hypothetical

“conjecture” to support her assertion that the in-person requirement increases

public safety. Id. at *11–12. After ruling that the challenged statutory provisions

were unconstitutional, the court ordered that Defendant and her agents be enjoined

from enforcing those provisions. Id. at *13. But the court delayed entry of

judgment on its holdings until September 15, 2021. Id.

             Following the court’s decision, Defendant indicated her intent to

appeal, and the court granted the parties’ joint request that the entry of judgment be

further delayed until September 22, 2021. ECF Nos. 111, 112. Defendant filed her

Motion for Stay Pending Appeal on August 31, 2021, requesting that this court

stay the effect of its prior order for the duration of any appeal to the Ninth Circuit

or, alternatively, to administratively stay this case until the Ninth Circuit decides

whether a stay is warranted. See ECF Nos. 113, 113-1. Plaintiffs filed a Response




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on September 13, 2021, opposing entry of any stay. ECF Nos. 114, 114-1. This

matter is decided without a hearing pursuant to Local Rule 7.1(c).

                          III. STANDARDS OF REVIEW

A.     Severability

               If a court holds a portion of a statute unconstitutional, the court should

conduct a severability analysis to see if it should invalidate only the

unconstitutional portion of the legislative enactment, as opposed to the entire

enactment. See Arizona Libertarian Party, Inc. v. Bayless, 351 F.3d 1277, 1282–

83 (9th Cir. 2003). The severability of a state statute is a matter of state law.

Leavitt v. Jane L., 518 U.S. 137, 139 (1996). “The general rule of law [in Hawaii]

concerning the concept of severability is that if any part of a statute is held invalid,

and if the remainder is complete in itself and is capable of being executed in

accordance with the apparent legislative intent, then the remainder must be upheld

as constitutional.” State v. Bloss, 62 Haw. 147, 153, 613 P.2d 354, 358 (1980). If

the “legislative history of the [statutory scheme] yields the conclusion that ‘the

legislature [would] have preferred what is left of its statute to no statute at all,’”

then the court should sever the unconstitutional portions of the statute from the

constitutional portions. State v. Pacquing, 139 Haw. 302, 320, 389 P.3d 897, 915

(2016) (quoting Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320,

330 (2006)).


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             “Severability of portions of the HRS is generally authorized by HRS

§ 1-23.” Id. at 319, 389 P.3d at 914. Section 1-23 states that “[i]f any provision of

the [HRS], or the application thereof to any person or circumstances, is held

invalid, the remainder of the [HRS], or the application of the provision to other

persons or circumstances, shall not be affected thereby.” But HRS § 1-23 is not

dispositive of the severability analysis. See, e.g., Hawaii Pac. Health v. Takamine,

2013 WL 1858554, *2 (D. Haw. May 1, 2013) (citing § 1-23 but declining to

sever); see also Nelson v. Miwa, 56 Haw. 601, 611, 546 P.2d 1005, 1013 (1976)

(declining to sever, although not citing HRS § 1-23, which was enacted before the

date of decision, see L. 1955, ch. 57, sec. 1(f)).

             The in-person inspection and registration requirement was added to

HRS § 134-3 by Act 74, Session Laws of Hawaii 2020 (H.B. 2744, H.D. 1, S.D. 2)

(“the 2020 Act”). The 2020 Act contains a more specific severability clause: “If

any provision of this Act, or the application thereof to any person or circumstance,

is held invalid, the invalidity does not affect other provisions or applications of the

Act that can be given effect without the invalid provision or application, and to this

end the provisions of this Act are severable.” H.B. 2744, pt. III, sec. 7. The 10-

day permit use period was added by 1933 Haw. Sess. Laws, Act 26 (H.B. 70) (“the

1933–34 Act”) (codified at Revised Laws of Hawaii §§ 2540–2553 (1935 ed.)).

The 1933–34 Act also contains a more specific severability clause: “If any section,


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subsection, sentence, clause or phrase of this Act is, for any reason, held to be

unconstitutional or invalid, such decision shall not affect the validity of the

remaining portions of this Act. The Legislature hereby declares that it would have

approved this Act . . . irrespective of the fact that any one or more other sections,

subsections, sentences, clauses or phrases be declared unconstitutional.” H.B. 70,

sec. 16.

B.     Stay Pending Appeal

             When a court issues final judgment granting an injunction and an

opposing party appeals that judgment, the court may stay the injunction on terms

that secure the opposing party’s rights. See Fed. R. Civ. P. 62(d). “The party

requesting a stay bears the burden of showing that the circumstances justify an

exercise of that discretion.” Al Otro Lado v. Wolf, 952 F.3d 999, 1006 (9th Cir.

2020) (quoting Nken v. Holder, 556 U.S. 418, 433–34 (2009)). Courts consider

the following factors when deciding whether to issue a stay pending appeal:

“(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.” Nken, 556

U.S. at 434 (internal quotation marks omitted).




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             The first and second factors are most important. Id. For the first

factor, the movant must show that there is a “substantial case for relief on the

merits,” i.e., that the appeal has a “reasonable probability” of success. Lair v.

Bullock, 697 F.3d 1200, 1204 (9th Cir. 2012) (describing various formulations of

the standard as interchangeable). The movant does not have to show that it is more

likely than not to succeed on its appeal. Id. For the second factor, the movant

must show that “irreparable injury is likely to occur during the period before the

appeal is decided.” Doe #1 v. Trump, 957 F.3d 1050, 1059 (9th Cir. 2020); see

also Al Otro Lado, 952 F.3d at 1007 (“[The movant] must show that an irreparable

injury is the more probable or likely outcome.”). A “possibility of irreparable

injury” is insufficient. Nken, 556 U.S. at 434–35. The Ninth Circuit applies a

flexible “sliding scale” test to the first two factors; a weak showing of irreparable

harm requires a strong showing of likelihood of success, and vice versa. Al Otro

Lado, 952 F.3d at 1007, 1010.

             The last two factors—balance of the equities, and public interest—are

relevant only if the movant satisfies the first two factors. Id. at 1007 (citing Nken,

556 U.S. at 434–35). When assessing the balance of the equities, courts must ask

“whether the other parties to the litigation will be substantially injured if the

district court’s preliminary injunction is stayed pending appeal.” Index

Newspapers LLC v. United States Marshals Serv., 977 F.3d 817, 837 (9th Cir.


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 2020). When a public program is being challenged, the public interest is often in

 favor of ensuring the stable administration of that public program. See Doe #1,

 957 F.3d at 1068.

              Finally, when considering staying an injunction that enjoins a

 government from enforcing a law, a court may stay the injunction in part, e.g., by

 permitting enforcement of the law under certain circumstances. See Trump v. Int’l

 Refugee Assistance Project, 137 S. Ct. 2080 (2017) (staying, in part, a preliminary

 injunction against the federal government’s enforcement of an executive order, by

 permitting the government to enforce that immigration order as to “foreign

 nationals who lacked any bona fide relationship with a person or entity in United

 States”).

                                   IV. ANALYSIS

              The court begins by clarifying the remedies for the Second

 Amendment violations: The 10-day permit use period is severed from HRS § 134-

 2(e) and is stricken. The in-person inspection and registration requirement is

 severed from HRS § 134-3(c) and is also stricken. The court then analyzes the

 four factors governing the Defendant’s Motion for Stay Pending Appeal. Those

 four factors dictate a different result for the two constitutional violations: The

 court stays its Order with respect to the 10-day permit use period. But the court




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 does not stay its Order with respect to the in-person inspection and registration

 requirement.

 A.    Severability and Remedies

       1.       The 10-Day Permit Use Period Is Severable from HRS § 134-2.

                The court has held unconstitutional the requirement in HRS § 134-

 2(e) that “[p]ermits issued to acquire any pistol or revolver shall be void unless

 used within ten days after the date of issue.” Yukutake, 2021 WL 3625307, at *5–

 9. The remaining question is whether, if the 10-day permit use period is severed,

 the remainder of § 134-2 is complete in itself and is capable of being executed in

 accordance with the apparent legislative intent. See Bloss, 62 Haw. at 153, 613

 P.2d at 358.

                In addition to the general severability clause in HRS § 1-23, the 1933–

 34 Act that introduced the 10-day period contains a more specific severability

 clause. See 1933 Haw. Sess. Laws, Act 26, sec. 16 (H.B. 70). The court thus starts

 with a strong presumption in favor of severability.

                As a practical matter, removing the 10-day permit use period from

 § 134-2(e) creates a void in the statutory scheme. There is no background rule in

 the HRS, nor any language remaining in chapter 134, that specifies an expiration

 date for handgun permits. There is a provision in § 134-2(e) that limits handgun

 permits to a single transaction. But that provision and the remaining language in


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 chapter 134 do not cap the time period in which a permit must be used. As the

 Defendant argues, see ECF No. 113-1 at PageID # 1034, if the 10-day permit use

 period is removed, one could read the statute as implicitly authorizing handgun

 permits that do not expire. The court finds that possibility—and, more generally,

 the lack of an expiration date for permits acquired through an otherwise thorough

 process—to be akin to assigning homework without a due date. Such as scheme is

 so unnatural and unexpected that any reasonable person would see a void in that

 scheme.

               The remaining question is whether the Hawaii legislature would have

 preferred that impractical result over no statute at all. See Pacquing, 139 Haw. at

 320, 389 P.3d at 915. The purpose behind the 1933–34 Act that introduced the 10-

 day permit use period was to “give the law enforcing agencies of the Territory [of

 Hawaii] a better means of controlling the sale, transfer and possession of firearms

 and ammunition.” ECF No. 92-9 at PageID # 774 (Journal of the House of

 Representatives of the 17th Legislature of the Territory of Hawaii, Special Session

 1933). The purpose behind the 1933–34 Act—increasing public safety by

 maintaining better control and tracking of firearms—is undoubtedly a purpose

 underlying many of the subsequent acts by the Hawaii legislature that have

 modified the firearm statutes and left in place the 10-day permit use period. See,

 e.g., ECF No. 92-16 at PageID ## 827–28 (Journal of the Senate of the 15th


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 Legislature of the State of Hawaii, Regular Session of 1990) (increasing penalties

 for firearm offenses and noting that “our entire community should be a safe place

 to live and learn and that everyone deserves to feel free from the threat of harm

 wherever they go”).

              Invalidating all of HRS § 134-2 would leave Hawaii without a

 permitting process for firearms. That result would likely produce a significant

 increase in gun violence. For example, the Defendant would have less control over

 the acquisition of firearms by persons with mental-health issues, see HRS § 134-

 2(b) and (c), and by persons with threatening criminal histories, see HRS § 134-

 2(e). And the Defendant would lose some ability to prevent the acquisition of guns

 by individuals that have been arrested for a felony or crime of violence. See id.

 Invalidating all of § 134-2 would, therefore, be directly contrary to the intent of the

 1933–34 Legislature and to the intent of subsequent legislatures that have

 maintained the 10-day permit use period.

              It is evident that the Hawaii legislature—whether now, in 1933–34, or

 anytime in between—would have preferred to remove the 10-day permit use period

 versus invalidating all of HRS § 134-2, even if removing the 10-day period leaves

 an apparent void in the statutory scheme. The court concludes that the void

 concerning the duration of handgun permits does not render the statute incapable

 of being fairly executed by the Defendant. Although the court does not decide


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 what the proper interpretation of HRS § 134-2 will be, the court notes that the void

 might be filled through a legislative fix, a patchwork of county regulations, official

 guidance issued by the Defendant, subsequent litigation, or some combination of

 those options. In sum, severing the 10-day period from § 134-2 will likely

 generate some degree of legal uncertainty, but the Defendant is not incapable of

 navigating that uncertainty and enforcing the remainder of § 134-2.

              The intent of the Hawaii legislature, and the strong presumption of

 severability provided by HRS § 1-23 and the 1933–34 Act, dictate that the 10-day

 permit use period be severed from HRS § 134-2. Accordingly, the requirement in

 § 134-2(e) that “[p]ermits issued to acquire any pistol or revolver shall be void

 unless used within ten days after the date of issue” is severed from the statute and

 declared unconstitutional in violation of the Second Amendment. Defendant’s

 officers, agents, servants, employees, and all persons in active concert or

 participation with Defendant are permanently enjoined from enforcing HRS § 134-

 2(e)’s 10-day permit use period for handguns. To be clear, no other language in

 HRS § 134-2 is found unconstitutional.

       2.     The In-Person Inspection and Registration Requirement Is
              Severable from HRS § 134-3.

              The court has held unconstitutional the requirement in HRS § 134-

 3(c) that “[a]ll other firearms and firearm receivers registered under this section

 [besides those registered by certain dealers] shall be physically inspected by the

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 respective county chief of police or the chief’s representative at the time of

 registration.” Yukutake, 2021 WL 3625307, at *9–12. The remaining question is

 whether, if the in-person requirement is severed, the remainder of § 134-3 is

 complete in itself and is capable of being executed in accordance with the apparent

 legislative intent. See Bloss, 62 Haw. at 153, 613 P.2d at 358.

              In addition to the general severability clause in HRS § 1-23, the 2020

 Act that introduced the in-person inspection and registration requirement contains

 a more specific severability clause. See H.B. 2744, H.D. 1, S.D. 2, Session Laws

 of Hawaii 2020, pt. III, sec. 7. The court thus starts with a strong presumption in

 favor of severability.

              Unlike with the 10-day permit use period, removing the in-person

 inspection and registration requirement does not leave a void in the statutory

 scheme. Removing that requirement leaves in place the background rule that

 “[e]very person who acquires a firearm pursuant to section 134-2 shall register the

 firearm in the manner prescribed by this section within five days of acquisition.”

 HRS § 134-3(b). And the rules that registrations be conducted “on forms

 prescribed by the attorney general” that are “uniform throughout the State” and

 include certain information, see id., would also remain in place. With those rules

 in place, and without the more specific in-person requirement, the statute would




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 mandate firearm registration via prescribed forms but without specifying the

 medium through which those forms can be delivered to the police departments.

                That lack of specificity would presumably allow for in-person

 registration and possibly registration by other mediums, such as by drop box, mail,

 or over the Internet. 2 Indeed, that would be the most reasonable reading of HRS

 § 134-3, considering the court’s holding that the mandatory in-person aspect of the

 post-acquisition procedures violates the Second Amendment. See Yukutake, 2021

 WL 3625307, at *9–12. That reading is further reinforced by the fact that remote

 registrations were not barred by § 134-3 before the 2020 Act.3 Hence, the absence

 of a provision specifying the medium through which registration can take place is

 not so unexpected or unnatural that it constitutes a void in the statutory scheme.

                Moreover, relative to invalidating all of § 134-3, severing the in-

 person requirement is more compatible with the intent of the 2020 Hawaii

 Legislature. Invalidating all of § 134-3 would erase Hawaii’s post-acquisition



        2
         Of course, the Defendant and the county police departments would choose the
 appropriate mediums and implement registration by those mediums.
        3
           See HRS § 134-3 (2019 ed.) (stating, in subsection c, that licensed dealers “shall not be
 required to have the firearms physically inspected by the chief of police at the time of
 registration,” but not specifying whether in-person inspection is required for non-dealers); ECF
 No. 60-1 at PageID # 268 n.3 (Defendant’s Motion for Summary Judgment) (“[T]he fact that the
 Legislature felt compelled to amend HRS § 134-3(c) so as to provide for in-person inspection
 suggests that the statute previously did not require it.”); ECF No 70-1 at PageID # 517 n.7
 (Plaintiffs’ Opposition to Defendant’s Motion for Summary Judgment) (“HB2744[, H.D. 1, S.D.
 2, Session Laws of Hawaii 2020] . . . clarifies that in-person registration is required.”).

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 registration process. It would eliminate the requirement that citizens of other states

 register their firearms when moving to Hawaii, see HRS § 134-3(a). And it would

 eliminate the provisions added by the 2020 Act concerning the regulation of “ghost

 gun[s],” firearms assembled “from a prepackaged kit requiring only minimal

 expertise and, thus, bypass background checks, registration, and other legal

 requirements,” such as the permitting requirements in § 134-2. Quite clearly, the

 2020 Hawaii Legislature would have preferred severing the in-person requirement

 over invalidating all of § 134-3 because the latter would be more likely to hinder

 “Gun Violence Prevention,” the principal purpose of the 2020 Act. See H.B. 2744,

 H.D. 1, S.D. 2, Session Laws of Hawaii 2020 (titled “A Bill for an Act Relating to

 Gun Violence Prevention”).

              In sum, there is a strong presumption of severability, severing does

 not leave a void in the statutory scheme or otherwise render the statutory scheme

 incapable of execution, and severing is more consistent with the 2020 Legislature’s

 intent. Accordingly, the requirement in HRS § 134-3(c) that “[a]ll other firearms

 and firearm receivers registered under [HRS Chapter 134] shall be physically

 inspected by the respective county chief of police or the chief’s representative at

 the time of registration” is severed from the statute and declared unconstitutional in

 violation of the Second Amendment. Defendant’s officers, agents, servants,

 employees, and all persons in active concert or participation with Defendant are


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 permanently enjoined from enforcing HRS § 134-3(c)’s in-person firearm

 inspection and registration requirement. To be clear, no other language in HRS

 § 134-3 is found unconstitutional.

 B.    Stay Pending Appeal

       1.     The Injunction Concerning the 10-day Permit Use Period Is Stayed
              Pending Appeal.

              a.    Likelihood of Success on the Merits

              Defendant contends that she is likely to succeed on the merits before

 the Ninth Circuit. ECF No. 113-1 at PageID # 1030. In support of that contention,

 Defendant submits many of the same arguments she submitted in support of her

 Counter Motion for Summary Judgment and Opposition to Plaintiffs’ Motion for

 Summary Judgment. Compare id. at PageID ## 1030–32, with ECF No. 91-1 at

 PageID ## 712–19. As for Defendant’s arguments concerning the 10-day permit

 use period, the court continues to find those arguments unpersuasive. See

 Yukutake, 2021 WL 3625307, at *5–9.

              One fact tending to support the success of Defendant’s appeal is that

 the Second Amendment is a fledgling area of constitutional law. See Dist. of

 Columbia v. Heller, 554 U.S. 570, 625–26 (2008) (“It should be unsurprising that

 such a significant matter [(interpreting the Second Amendment)] has been for so

 long judicially unresolved. . . . For most of our history the question did not present

 itself.”); Sutterfield v. City of Milwaukee, 751 F.3d 542, 571 (7th Cir. 2014)

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 (“Whether and to what extent the Second Amendment protects an individual’s

 right to possess a particular gun . . . is an issue that is just beginning to receive

 judicial attention.”); Shawn E. Fields, Stop and Frisk in A Concealed Carry World,

 93 Wash. L. Rev. 1675, 1691 n.100 (2018) (“Prior to the 1960’s, the Second

 Amendment was rarely litigated and broadly viewed as an archaic military

 amendment . . . .”). When addressing such an area of the law, the court lacks

 significant guidance as to the scope and application of the Second Amendment

 (relative to other constitutional rights), and that lack of guidance increases

 unpredictability on appeal. As an example, courts have not addressed in any detail

 when regulations on the commercial sale of firearms qualify for the “longstanding

 prohibitions on the possession of firearms.” See Heller, 554 U.S. at 626–27.

 Moreover, the court is not aware of any decisions from the Ninth Circuit or any

 other Circuits in factually similar cases that would be highly persuasive to the

 Ninth Circuit in deciding Defendant’s appeal.

              The court also recognizes that assessing the constitutionality of the

 10-day permit use period involves difficult questions concerning the relationship

 between a statutory provision and public safety. In holding that requirement

 unconstitutional, the court ruled against the Defendant principally because she

 failed to provide any evidence or meaningful explanation as to how the 10-day

 period promotes public safety. See Yukutake, 2021 WL 3625307, at *6–9

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 (describing the Defendant’s showing as consisting of an unpersuasive “common-

 sense argument” and general statements of purpose in the legislative history).

 Despite those deficiencies, it is not inconceivable that the Ninth Circuit would

 disagree with this court.

              For those reasons, the court finds that the Defendant’s appeal has at

 least a reasonable probability of success with respect to the 10-day permit use

 period. The first factor weighs in Defendant’s favor.

              b.     Irreparable Injury

              For the irreparable-injury factor, the relevant question is whether,

 assuming the Ninth Circuit reverses this court’s invalidation of the 10-day permit

 use period, the Defendant will suffer an irreparable injury in the meantime. The

 Defendant first asserts that a “state suffers irreparable injury whenever an

 enactment of its people or representatives is enjoined.” ECF No. 113-1 at PageID

 ## 1032–33 (quoting Coal. for Econ. Equity v. Wilson, 122 F.3d 718, 719 (9th Cir.

 1997)).

              As Plaintiffs point out, however, the Ninth Circuit has called into

 doubt the principle that irreparable harm occurs every time a court enjoins a state

 statute. See Indep. Living Ctr. of S. California, Inc. v. Maxwell-Jolly, 572 F.3d

 644, 658 (9th Cir. 2009), vacated and remanded on other grounds sub nom.

 Douglas v. Indep. Living Ctr. of S. California, Inc., 565 U.S. 606 (2012). “To the


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 extent that [principle] is true, . . . it is not dispositive of the balance of harms

 analysis. If it were, then the [injunction] rule requiring ‘balance’ of ‘competing

 claims of injury,’ [Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)],

 would be eviscerated.” Maxwell-Jolly, 572 F.3d at 658. The court recognizes that

 enjoining the enforcement of provisions in Hawaii’s firearm statutes is a serious

 matter, but the court does not view that injunctive relief as creating an abstract

 harm that, by itself, satisfies the showing required of Defendant on the irreparable-

 injury factor.

               The Defendant next asserts that invalidating the 10-day permit use

 period will “creat[e] chaos for the State of Hawaii and all four counties,” and that

 the consequences of that chaos will be irreversible. ECF No. 113-1 at PageID

 ## 1033–34. More specifically, the Defendant identifies three types of harms

 associated with that “chaos”: First, there will be legal uncertainty as to how law

 enforcement should treat handgun permits. See id. Second, a flood of new

 applications will drown the county police departments. See id. at PageID # 1033.

 And third, “people will be acquiring and registering firearms who would not

 ordinarily be able to do so under the prior regulations,” “result[ing] in an increased

 threat to public safety.” Id. at PageID # 1034. In other words, there will be an

 increase in the possession of handguns by unfit individuals, damaging public safety

 in a way that the Defendant cannot “un-ring.” Id.


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                  As to the first type of harm, the court agrees that the absence of the

 10-day permit use period will cause legal uncertainty. As stated earlier, removing

 the 10-day period leaves a void in the statutory scheme. See discussion supra Part

 IV.A.1. Although that void could potentially be fixed in various ways, the more

 permanent fix of a legislative amendment is unlikely to occur for at least four

 months, as the 2021 Regular and Special Sessions of the Hawaii Legislature have

 ended, and the 2022 Regular Session will not begin until January 2022. See Haw.

 Const. art. III, § 10 (“The legislature shall convene annually in regular session at

 10:00 o’clock a.m. on the third Wednesday in January.”). While not certain, it is

 possible the void can be fixed through official guidance by the Defendant or

 through a patchwork of county regulations. But both of those possible fixes

 require the Defendant to dedicate significant resources to coordinating permitting

 standards across the counties.4 Moreover, the legality of those fixes is not clear,

 which could generate further litigation.

                As to the second type of harm—the drain on police-department

 resources—the court agrees with the Defendant that removing the 10-day permit


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           The Defendant would have to decide whether the law permits an expiration date for
 handgun permits, and, if one is selected, whether the Second Amendment is satisfied. The
 Defendant would also have to assess how the court’s ruling affects permits issued on a previous
 date, e.g., permits issued three days before the issuance of this order. It is also likely that if the
 Defendant’s guidance was not promptly issued, the counties would take divergent approaches,
 and the Defendant would have the additional burden of handling permits issued before and after
 the guidance.

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 use period will more likely than not cause an influx of applications for handgun

 permits. Plaintiffs have consistently asserted that the 10-day period is a substantial

 obstacle to acquiring a handgun. See, e.g., ECF No. 1 at PageID # 5 (“[T]he

 applicant has ten days . . . to return to HPD to pick up his or her issued permit to

 acquire during the aforementioned business hours and to pick up the firearm from

 the store.”); ECF No. 78 at PageID # 562 (“The ten-day expiration increases the

 burden on Plaintiffs and all other law-abiding citizens who wish to exercise their

 rights to armed self-defense with a handgun inside their home.”); id. at PageID

 # 564 (“[Plaintiff] went to the gun shop to complete paperwork, but the shop was

 closed and the sign on the door stated it would be closed through January 9, 2019.

 This exceeded the 10-day expiration date on the permit to acquire.”); ECF No. 95-

 1 at PageID # 933 (“The ten-day expiration date of a handgun permit forces

 Plaintiffs to take an additional day off in quick succession to use it or lose it.”).

 The court thus finds that, if that obstacle were removed, there will likely be a

 significant increase in the number of applications for handgun permits. That influx

 of applications could strain the finite resources of the county police departments,

 which will already be handling the uncertainty associated with permit expiration.5


        5
           Plaintiffs argue that the police departments, once freed of the burden of administering
 in-person inspections and registrations, will have plenty of resources to dedicate to the influx of
 permit applications. ECF No. 114-1 at PageID # 1065. Plaintiffs fail to realize that the
 Defendant and the county police departments may continue to provide in-person registration, and
 that citizens may choose to register in-person rather than through some other medium. Also,
                                                                               (continued . . . )
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                As to the third type of harm—increase in the possession of handguns

 by unfit individuals—the court disagrees with Defendant. The Defendant argues

 that the court’s injunction will “encourage more people to apply for permits and

 registrations,” and that, “[a]s a result, people will be acquiring and registering

 firearms who would not ordinarily be able to do so under the prior regulations,”

 “result[ing] in an increased threat to public safety.” ECF No. 113-1 at PageID

 ## 1033–34. But, as the Plaintiffs correctly respond, an increase in gun ownership

 is a Second Amendment right, and any increase would be tied to the removal of an

 unconstitutional restriction on Second Amendment rights. See ECF No. 114-1 at

 PageID # 1064 (“[Defendant’s] statement is shocking because we are dealing with

 an enumerated fundamental right.”); see also McDonald v. City of Chicago, Ill.,

 561 U.S. 742, 780 (2010) (stating that the Second Amendment is not “a second-

 class right”). Moreover, it is speculative that gun possession by unfit individuals

 will increase simply because gun ownership will increase. The police departments

 will still be conducting thorough investigations of applicants’ mental health

 histories, see HRS § 134-2(b) and (c), and applicants’ criminal histories, see HRS

 § 134-2(e).




 regardless of the medium used, police departments still must process registrations, and
 registrations will logically increase with an influx of applications.

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                In sum, removing the 10-day permit use period leaves a void in the

 permitting statute, and there is no clear answer as to how the Defendant can

 accomplish meaningful, orderly enforcement of the statute within a short period of

 time. 6 The resulting uncertainty and the drain on Defendant’s resources constitute

 significant, irreparable harms that the court finds are likely to occur during

 Defendant’s appeal. Finally, the court finds that the Defendant is likely to suffer at

 least a minor degree of irreparable harm due to the strain on law enforcement

 resources and due to the mere fact that a Hawaii statute is being enjoined. The

 second factor weighs strongly in Defendant’s favor.

                c.      Balance of the Equities

                As discussed above, the Defendant is likely to suffer irreparable harm

 absent a stay of the court’s order enjoining enforcement of the 10-day permit use

 period. But if the stay is granted, Plaintiffs will be injured—the deprivation of a

 constitutional right is itself an irreparable harm. See Goldie’s Bookstore v.

 Superior Ct., 739 F.2d 466, 472 (9th Cir.1984) (“An alleged constitutional




        6
          When analyzing the severability of the 10-day period, see supra Part IV.A.1, the court
 concluded that Defendant is not incapable of fairly enforcing the remainder of HRS § 134-2.
 The crucial distinction for the stay analysis is that, although Defendant can eventually sort out
 § 134-2, its very unlikely Defendant can do so in a short period of time. During the intervening
 period, orderly enforcement is unlikely, and Defendant is likely to suffer irreparable injury as a
 result.

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 infringement will often alone constitute irreparable harm.” (citing Wright &

 Miller, 11 Federal Practice and Procedure § 2948 at 440 (1973))).

              The court finds that the sum of Defendant’s harms—legal uncertainty,

 drain on resources, and restriction of a duly enacted statute—is roughly equal to

 the sum of Plaintiffs’ harms, which includes taking time off work, making multiple

 visits to the Honolulu Police Department and gun stores, and the deprivation of a

 fundamental constitutional right. See Silvester v. Harris, 2014 WL 6611592, at *4

 (E.D. Cal. Nov. 20, 2014) (declining to stay injunction against unconstitutional 10-

 day waiting-period law because the law “caused additional expense and

 inconvenience, and . . . caused individuals to forego exercising their Second

 Amendment rights,” and noting that the “deprivation of constitutional rights, for

 even minimal periods of time, unquestionably constitutes irreparable injury”).

              Although the court previously held that Plaintiffs’ rights were “not

 severely burden[ed],” the court analyzed the Plaintiffs’ burdens for the purposes of

 selecting a level of scrutiny. See Yukutake, 2021 WL 3625307, at *11. But for the

 balance of the equities, the court cannot focus on the burdens while ignoring that

 there is persistent deprivation of constitutional rights. See Ezell v. City of Chicago,

 651 F.3d 684, 698 (7th Cir. 2011) (“Here, the [district court] judge zeroed in on the

 occasional expense and inconvenience of having to travel to a firing range in the

 suburbs, but that’s not the relevant constitutional harm. . . . [The firing-range ban]


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 violates [appellants’] Second Amendment rights every day it remains on the books.

 These are not application-specific harms calling for individual remedies.”).

               The court also finds that the likelihood of Defendant’s harms is

 roughly equal to the likelihood of Plaintiffs’ harms. Plaintiffs have already

 experienced the inconveniences associated with 10-day permit use period. And

 one of the Plaintiffs alleges that he is a “firearms instructor” that “routinely must

 take time off work to purchase and register handguns.” ECF No. 78 at PageID

 # 567. Moreover, if a stay is granted, Plaintiffs will experience a deprivation of

 constitutional rights “every day.” See Ezell, 651 F.3d at 698. The court thus finds

 it likely that Plaintiffs will suffer substantial injury if a stay is granted.

               After weighing the relative degree and likelihood the parties’ harms,

 the court finds that the equities in favor of granting the stay are roughly equal to

 those in favor of denying the stay. This factor is neutral.

               d.     Public Interest

               The public interest weighs slightly in favor of granting the stay. If the

 stay is denied and the 10-day permit use period is not enforced for the duration of

 Defendant’s appeal, Hawaii’s citizens will be harmed by the lack of clarity as to

 the permitting process. See id. On the other hand, if the stay is granted and the 10-

 day permit use period is enforced, Hawaii’s citizens will experience continued

 infringement of their Second Amendment rights. See Preminger v. Principi, 422


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 F.3d 815, 826 (9th Cir. 2005) (“Generally, public interest concerns are implicated

 when a constitutional right has been violated, because all citizens have a stake in

 upholding the Constitution.”).

              Importantly, the other harms that are likely to occur to Defendant if

 the stay is denied—namely, legal uncertainty, drain on resources, and restriction of

 a duly enacted statute—also affect Hawaii’s citizenry, albeit indirectly. Those

 harms undermine the Defendant’s ability to operate the firearm permitting and

 registration system. The public has a strong interest in the stable administration of

 a public-safety program, such as a firearm permitting and registration system. See

 Doe #1, 957 F.3d at 1068 (“In this case, the public interest lies with maintaining

 the status quo while the appeal is pending. For countless decades, a stable

 immigration system has provided for families to be united through a visa system

 . . . .”).

              The public interest thus favors Defendant. Because the first two

 factors strongly favor the Defendant, the fourth factor also favors Defendant, and

 the third factor is neutral, the Defendant has satisfied her burden of showing that

 the circumstances of this case justify a stay of the court’s order enjoining

 enforcement of the 10-day permit use period. Defendant’s Motion for Stay

 Pending Appeal is GRANTED with respect to the court’s injunction against

 enforcement of the 10-day permit use period.


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       2.     The Injunction Concerning the In-Person Inspection and
              Registration Requirement Is Not Stayed Pending Appeal.

              a.    Likelihood of Success on the Merits

              Defendant contends that she is likely to succeed on the merits before

 the Ninth Circuit. ECF No. 113-1 at PageID # 1030. Again, Defendant submits

 many of the same arguments she submitted in support of her Counter Motion for

 Summary Judgment and Opposition to Plaintiffs’ Motion for Summary Judgment.

 Compare id. at PageID ## 1030–32, with ECF No. 91-1 at PageID ## 712–19. As

 for the arguments concerning the in-person inspection and registration

 requirement, the court continues to find those arguments unpersuasive. See

 Yukutake, 2021 WL 3625307, at *9–12.

              The court recognizes that assessing the constitutionality of the in-

 person inspection and registration requirement involves difficult questions

 concerning the relationship between a statutory provision and public safety. In

 holding that requirement unconstitutional, the court ruled against the Defendant

 principally because she failed to provide any evidence or meaningful explanation

 as to how the in-person requirement promotes public safety. See id. at *10–12

 (describing the Defendant’s showing as being grounded on a “bald statement” of

 purpose in the legislative history and on “common-sense conclusions” based on

 hypothetical “conjecture”). Despite those deficiencies, it is not inconceivable that

 the Ninth Circuit would disagree with this court.

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              Ultimately, however, the prospects of Defendant’s appeal regarding

 the in-person requirement are diminished by Heller v. District of Columbia, 801

 F.3d 264 (D.C. Cir. 2015) (“Heller IV”), a decision in a factually similar case that

 provides strong support for this court’s ruling. In Heller IV, the D.C. Circuit held

 unconstitutional the District of Columbia’s statutory “requirement that the firearm

 be made available for inspection.” 801 F.3d at 277. Like the Defendant in this

 case, the District “offered no evidence—let alone substantial evidence—from

 which it can be inferred that verification will promote public safety.” Id. And, like

 this court, the D.C. Circuit found that the asserted “common-sense inference” that

 in-person inspection increases public safety was not so common or sensible: “On

 the contrary, common sense suggests that bringing firearms to the [police

 department] would more likely be a threat to public safety; as [appellant]

 maintains, there is a ‘risk that the gun may be stolen en route or that the would-be

 registrant may be arrested or even shot by a police officer seeing a 'man with a gun'

 (or a gun case).’” Id.

              There is thus a highly persuasive decision on the books from a sister

 Court of Appeals, and that decision supports the court’s ruling on the in-person

 inspection and registration requirement. On balance, and giving consideration to

 the D.C. Circuit’s decision in Heller IV, the court finds that the Defendant’s appeal

 does not have a reasonable probability of success with respect to the in-person


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 inspection and registration requirement. The first factor is not in the Defendant’s

 favor.

              b.     Irreparable Injury

              For the irreparable-injury factor, the Defendant continues to assert that

 a “state suffers irreparable injury whenever an enactment of its people or

 representative is enjoined.” ECF No. 113-1 at PageID ## 1032–33 (quoting

 Wilson, 122 F.3d at 719). The court recognizes that Defendant is harmed by the

 injunction against a portion of the Hawaii firearm statute, but the court declines to

 treat that harm as sufficient, by itself, to satisfy the showing required for the

 irreparable-injury factor.

              Unlike with the 10-day permit use period, invalidating the in-person

 inspection and registration requirement will not cause legal uncertainty. That is

 because removing the in-person requirement from HRS § 134-3 does not leave a

 void in the statute. See discussion supra Part IV.A.2. Because in-person

 registrations can still occur, Defendant will not have to dedicate significant

 resources to reorganizing the registration process. At worst, Defendant and the

 county police departments will need to decide whether they will implement

 registration by means other than visiting the police station. That is a negligible

 harm.




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              Defendant identifies three other harms that will flow from enjoining

 the in-person inspection and registration requirement for the duration of the appeal:

 First, Defendant will be harmed because applicants will be “acquiring firearms

 even though the information their permits were based on is inaccurate.” ECF No.

 113-1 at PageID # 1034. Second, Defendant will be harmed because applicants

 will be “registering firearms with inaccurate serial numbers or other identifying

 information.” Id. And third, Defendant will be harmed because applicants will be

 “registering firearms that violate Hawaii law, such as by having barrel lengths that

 are too short, that constitute assault pistols, or that have illegal accessories, such as

 bump fire stocks.” Id.

              Contrary to Defendant’s suggestion, those three harms are not likely

 to occur. As to the first and second types of harm—errors in permit data and gun-

 tracking data—the court finds those alleged harms to be speculative at best and, in

 any event, obviated by other requirements in Hawaii’s firearm statutes.

              When applying for a handgun permit, applicants must provide the

 police department with the handgun’s identifying information—its make, model,

 and serial number. See HRS § 134-2(e). Applicants must also provide personally

 identifying information. Id. After the permit issues, the applicant visits the seller

 to acquire the handgun, and the applicant surrenders the permit to the seller. HRS

 § 134-2(f). The seller then verifies the handgun’s identifying information, verifies


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 the applicant’s identifying information, writes that information on the permit, signs

 the permit, and delivers it to the police department. Id. Finally, the applicant must

 register the firearm using “forms prescribed by the attorney general,” which must

 include the handgun’s identifying information. HRS § 134-3(b). Presumably,

 those forms also include the applicant’s identifying information. See id.

              Thus, even without in-person inspection and registration, there are

 three separate sources of information that police departments can use to verify the

 identity of an applicant and the identity of that applicant’s handgun: the

 information on the permit application, the information on the permit delivered by

 the seller, and the information on the applicant’s registration form. With those

 three sources of information in hand, it is very unlikely that police departments

 will overlook permitting errors and registration errors for handguns. To suggest

 otherwise is simply speculation.

              The permitting and registration process for long guns (i.e., rifles and

 shotguns) is slightly different, but that process still provides meaningful checks on

 erroneous permit data and gun-tracking data. The applicant does not have to

 provide the long gun’s identifying information when applying for a permit. See

 HRS § 134-2(b). But whenever the applicant acquires a long gun with that permit,

 the seller must verify the long gun’s identifying information, verify the applicant’s

 identifying information, and send that information, in writing, to the police


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 department. HRS § 134-2(f). As with handguns, an applicant acquiring a long gun

 must register that long gun using “forms prescribed by the attorney general,” which

 must include the long gun’s identifying information. See HRS § 134-3(b).

 Presumably, those forms also include the applicant’s identifying information. See

 id.

              Thus, even without in-person inspection and registration, there are

 two sources of information that police departments can use to verify the identity of

 an applicant and the identity of that applicant’s long gun: the information delivered

 by the seller and the information on the applicant’s registration form. Those two

 sources of information make it unlikely that permitting errors and registration

 errors will occur for long guns.

              The third alleged harm is the increased registration of illegal firearms.

 The court recognizes it is at least possible that two individuals could conspire to

 give the authorities false information about a firearm being sold or transferred, and

 that the sale or transfer could be validated when it might otherwise be thwarted by

 an inspection. But that is not likely to occur—Hawaii’s firearm statutes have legal

 safeguards against such malfeasance. First, as described above, for sales of both

 long guns and handguns, the seller must deliver firearm identifying information to

 the police department after a sale has occurred. HRS § 134-2(f). The seller must

 also include in that delivery his or her identity. Id. That transparency and


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 accountability measure puts pressure on the seller to be truthful and to not sell

 illegal firearms—if the illegal firearm is later discovered, the seller could be within

 the scope of a criminal investigation.

              Second, regarding illegal accessories, such as bump stocks and barrel

 modifications, the Defendant has the authority to cut off the upstream supply of

 those accessories. Defendant can vigorously enforce HRS § 134-8.5(a), which

 makes it a felony to manufacture, import, sell, or offer for sale any “bump fire

 stock, multiburst trigger activator, or trigger crank.” Defendant can also

 vigorously enforce HRS § 134-8, which makes it a felony to manufacture, sell, or

 transfer “assault pistols,” “automatic firearms,” “silencers,” and long guns with

 certain barrel lengths, among other things.

              Third, assuming that a substantial portion of firearm sales occur

 through licensed dealers, see HRS § 134-31, the Defendant can reduce sales of

 illegal firearms by regulating licensed dealers using HRS § 134-32. That statute

 conditions licensing on the dealer’s compliance with all applicable firearm laws,

 which provides a motivating force against illegal sales. See HRS § 134-32(1) and

 (5). Further, Defendant can supervise the licensed dealers by periodically

 inspecting their inventory for illegal firearms. See HRS § 134-32(4) (“[A]ll

 firearms in the possession and control of the licensee or registered . . . shall be




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 subject to physical inspection by the chief of police of each county during normal

 business hours at the licensee’s place of business.”).

              In sum, the court finds that the three types of harm identified by

 Defendant are unlikely to occur during the Defendant’s appeal. If the stay is

 denied as to the in-person requirement, and the Defendant is enjoined from

 enforcing that requirement, the only injuries that Defendant is likely to suffer are a

 negligible sink in resources and the abstract harm of enjoining a state statute. The

 court holds that those harms are insufficient for purposes of the irreparable-injury

 factor. That factor is not, therefore, in Defendant’s favor.

              Because the Defendant has made a weak showing on the first two

 factors, the third and fourth factors are irrelevant. See Al Otro Lado, 952 F.3d at

 1007. The Defendant has not satisfied her burden of showing that the

 circumstances of this case justify a stay of the court’s order enjoining enforcement

 of the in-person inspection and registration requirement. Defendant’s Motion for

 Stay Pending Appeal is DENIED with respect to the court’s injunction against

 enforcement of the in-person inspection and registration requirement. For the

 same reasons the court has denied that stay, the court also denies the Defendant’s

 request for an administrative stay. See Landis v. N. Am. Co., 299 U.S. 248, 254

 (1936) (“[T]he power to stay proceedings is incidental to the power inherent in




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 every court to control the disposition of the causes on its docket with economy of

 time and effort for itself, for counsel, and for litigants.”).

                                   V. CONCLUSION

               The 10-day permit use period and the in-person inspection and

 registration requirement are severed from their respective statutes and invalidated.

 The Defendant is enjoined from enforcing those provisions. Defendant’s

 Motion for Stay Pending Appeal is GRANTED with respect to the court’s

 injunction against enforcement of the 10-day permit use period in HRS § 134-2(e).

 But Defendant’s Motion for Stay Pending Appeal is DENIED with respect to the

 court’s injunction against enforcement of the in-person inspection and registration

 requirement in HRS § 134-3(c). The clerk of court is directed to enter Judgment in

 favor of Plaintiffs and close the case file.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, September 23, 2021.


                                                    /s/ J. Michael Seabright
                                                   J. Michael Seabright
                                                   Chief United States District Judge




 Yukutake v. Connors, Civ. No. 19-00578 JMS-RT, Order (1) Clarifying Remedies; and (2)
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     1                       IN THE UNITED STATES DISTRICT COURT
     2                            FOR THE DISTRICT OF HAWAII
     3
            TODD YUKUTAKE and                     )   CIVIL NO. 19-00578JMS-RT
     4      DAVID KIKUKAWA,                       )
                                                  )   Honolulu, Hawaii
     5                     Plaintiffs,            )   June 28, 2021
                                                  )
     6              vs.                           )
                                                  )   [54] PLAINTIFFS' MOTION FOR
     7      CLARE E. CONNORS, in her              )    SUMMARY JUDGMENT
            Official Capacity as the              )   [60] DEFENDANT CLARE E.
     8      Attorney General of the               )    CONNORS, IN H ER OFFICIAL
            State of Hawaii,                      )    CAPACITY AS THE ATTORNEY
     9                                            )    GENERAL OF THE STATE OF
                           Defendant.             )    HAWAII'S COUNTER MOTION FOR
    10                                            )    SUMMARY JUDGMENT
    11
                                  TRANSCRIPT OF PROCEEDINGS
    12                    BEFORE THE HONORABLE J. MICHAEL SEABRIGHT,
                              CHIEF UNITED STATES DISTRICT JUDGE
    13
           APPEARANCES:
    14
            For the Plaintiffs:             ALAN ALEXANDER BECK, ESQ.
    15                                      (By video teleconference)
                                            Law Office of Alan Beck
    16                                      2692 Harcourt Drive
                                            San Diego, California 92123
    17
    18      For the Defendant:              KENDALL J. MOSER, ESQ.
                                            Department of the Attorney General,
    19                                       State of Hawaii
                                            425 Queen Street
    20                                      Honolulu, Hawaii   96813
    21
            Official Court                  Cynthia Fazio, RMR, CRR, CRC
    22      Reporter:                       United States District Court
                                            300 Ala Moana Blvd., C-270
    23                                      Honolulu, Hawaii 96850
    24
           Proceedings recorded by machine shorthand, transcript produced
    25     with computer-aided transcription (CAT).




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     1     MONDAY, JUNE 28, 2021                                         10:02 A.M.
     2                THE COURTROOM MANAGER:         Civil Number 19-00578JMS-RT,
     3     Todd Yukutake and David Kikukawa versus Clare E. Connors, in
     4     her official capacity as the Attorney General of the State of
     5     Hawaii.
     6                This case has been called for a hearing on Plaintiffs'
     7     Motion for Summary Judgment and Defendant's Countermotion for
     8     Summary Judgment.
     9                Counsel, please make your appearances for the record.
    10                MR. BECK:     Alan Beck for the plaintiffs.
    11                THE COURT:     Yes, good morning, Mr. Beck.
    12                MR. BECK:     Morning, Your Honor.
    13                MR. MOSER:     Good morning, Your Honor.          Kendall Moser
    14     for defendant Clare Connors.
    15                THE COURT:     All right.      Thank you.
    16                All right.     Well, I think the motion, although we have
    17     cross-motions, Mr. Beck filed first.            So I think he should as
    18     plaintiff probably argue first as well.
    19                So, let me just say a few things.            I'm going to sort
    20     of frame a little bit of the argument here.              And certainly I'll
    21     let you make your arguments.          But there's one area I think I'm
    22     pretty unmovable on given what I've looked at and I really
    23     don't think argument will help, and that is if we get past the
    24     sort of longstanding history, the historical record and get to
    25     a level of scrutiny, I'm convinced this is intermediate




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     1     scrutiny, not strict scrutiny.          And so I really don't want
     2     argument on that because it's just not necessary.
     3                 So I want both sides to limit your comments to
     4     application note and intermediate scrutiny test.               I understand
     5     you argue otherwise, Mr. Beck, but I just don't see that.                    And
     6     so I don't need argument on that.
     7                 Okay.   So with that, Mr. Beck, I'll turn it over to
     8     you.
     9                 MR. BECK:    Yes, thank you, Your Honor.
    10                 Morning, Your Honor.       Today we're here on behalf of my
    11     plaintiffs, my clients' challenge to the HRS 134-2 and HRS
    12     134-3's provisions that a long arm -- that a handgun permit
    13     expires after ten days.        Whereas, a long arm permit lasts for
    14     one year.     And the requirement that a applicant for a firearm
    15     take the firearm to the police station.
    16                 I will begin with the ten-day expiration date, Your
    17     Honor.
    18                 Here the statute is not longstanding.            And we know
    19     this because in Young v. State of Hawaii, the court recently
    20     said very explicitly, as I stated in my briefing, that we're
    21     not going to look to 20th century laws to see whether a
    22     provision is longstanding because it doesn't give any
    23     illumination to the original public meaning of the Second
    24     Amendment.     So if you take that snippet from the en banc panel,
    25     that what this -- what the current precedent requires in this




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     1     circuit is for this Court to look at what was longstanding,
     2     what was prohibited at the time of the ratification of the
     3     second amendment.
     4                And other precedent supports this.            Here I'll start
     5     with the out-of-circuit precedent that's been relied upon by
     6     the State.     They've cited to both the Fifth Circuit and the
     7     D.C. Circuit.      And a closer examination of both those cases,
     8     appeals demonstrate that those opinions actually support a
     9     application of looking to colonial law to see whether something
    10     is longstanding.
    11                In the D.C. court, the -- they found there was a --
    12     that here the only reason they would find that the registration
    13     laws were longstanding was simply because the laws at issue, as
    14     I explain in my briefing, were de minimis.              And in the Fifth
    15     Circuit they expressly looked to colonial laws to find that
    16     prohibitions on 18 through 20-year-olds were around at the time
    17     of the ratification of the Second Amendment.
    18                So, the State simply has not cited to any precedent.
    19                THE COURT:     What's your -- what's your view on the
    20     amicus brief, what's laid out by Everytown in their amicus
    21     brief?    Because obviously they do go back to that time period,
    22     but you're arguing that should be examined.              So what's your
    23     view on that?
    24                MR. BECK:     Yes, Your Honor.       The amicus brief about
    25     Everytown does not support the proposition that every firearm




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     1     could be registered or inspected at 1791.             This is -- maybe a
     2     closer analogy is the bottom of the military or maybe -- and
     3     also the reserve post.        If -- at 1791 there were militia laws
     4     in place that required that all able-bodied men go to muster in
     5     order to show that they were, you know, able to effectively
     6     defend the community.        And all the colonies, I believe, have
     7     that.    And so every single statute that's been cited to in the
     8     amicus brief of Everytown are statutes that say, look, the
     9     firearm that you bring to formation in order to satisfy your
    10     duty as a member of the militia, we get a chance to look at it
    11     simply because this is a firearm that, you know, we're going to
    12     use in this military setting.          And there were no laws, not a
    13     single law that Everytown cited to goes to the proposition that
    14     you could look at -- that the government could go into your
    15     home and look at your additional firearms.
    16                THE COURT:     Okay.    Let me interrupt.       I mean I
    17     understand that.       So let's move to the intermediate scrutiny
    18     now.    Like I say, I don't want you to argue strict scrutiny
    19     because I just am not going to find that applies, if I get to
    20     this point.
    21                MR. BECK:     Yes, Your Honor.
    22                THE COURT:     So we have this ten-day period.           You spend
    23     a fair amount of time talking about under inclusiveness and
    24     comparing it to the ten-day period with handguns to the sort of
    25     one-year period for long guns under inclusiveness.                But under




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     1     the intermediate scrutiny test, we don't have to have the least
     2     restrictive law possible.         And in the Pena case the Ninth
     3     Circuit sort of swatted away an argument under inclusiveness.
     4                So I guess I'm trying to understand what law would be
     5     acceptable in your view?         You know, when is it not a burden?
     6     Would a 30-day period be such that it would pass muster, would
     7     a 60-day, 90-day?       I mean what's your view on what -- I mean
     8     obviously a permit can't last a lifetime.             So there has to be
     9     some line that can be drawn that's reasonable, right?
    10                MR. BECK:     Just to my application under intermediate
    11     scrutiny, Your Honor.
    12                THE COURT:     Yes.
    13                MR. BECK:     Yes.    I -- look, the core argument that my
    14     clients and -- have is they have to take a considerable amount
    15     of time off work in a relatively short period of time to the
    16     point that it becomes a huge burden for them to repeatedly tell
    17     their employers that they need to take time off in -- during
    18     that period.
    19                I don't -- I'm not -- I can't commit to a exact time
    20     frame, but for the purposes of this challenge under
    21     intermediate scrutiny it would be enough time where it's -- you
    22     know, whether -- where it's -- it would be convenient for them,
    23     just somebody, okay, I'm taking one day off today, you know.
    24     Say couple months, you know, I take another day off.
    25                You know, it's -- here the substantial burden is the




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     1     fact that, you know, this is really interfering with your
     2     day-to-day lives in order to exercise an inalienable right.                  So
     3     it's -- I mean I don't think that same burden would come into
     4     place with the year, you know.          I don't -- I'd be sort of
     5     uncomfortable saying 30 to 60.          But certainly the year doesn't
     6     have the same impediment on their -- just their ability to take
     7     time off so they can --
     8                 THE COURT:    So you -- you accept that a time period is
     9     legitimate, it's just the ten-day period is too short; is that
    10     fair?
    11                 MR. BECK:    What I will say is that the crux of my
    12     clients' challenge --
    13                 THE COURT:    That's not my question though.           No, I want
    14     you to answer my question, not what -- I don't want you to say
    15     what you want to say, I want you to answer my question.
    16                 MR. BECK:    I -- I will accept that -- that a certain
    17     amount of time for a permit is acceptable under intermediate
    18     scrutiny.
    19                 THE COURT:    All right.      Okay.    That's all.     And you're
    20     just saying given the mechanisms by which you go about getting
    21     the firearm, you know, you have to first go purchase it, but
    22     you don't get it, then you fill out the paperwork, you submit
    23     that and then you have only that ten-day period to get back to
    24     the station.
    25                 MR. BECK:    Yes, Your Honor.       I mean taken in total




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     1     together, I mean this is a five-day -- this is a five-step
     2     process that has to be done just in a matter of weeks.
     3                THE COURT:     Walk me through that five-step process.
     4     Let's make sure we're on the same page with that process.                    I'll
     5     let Mr. Moser comment on this.          But no one lays that out in
     6     like a bullet point, so I think it would be useful actually to
     7     hear that five-step process.
     8                MR. BECK:     Okay.    Let's -- first off let's assume that
     9     this is their second gun.         So they've gone through, you know,
    10     just all the normal stuff that you have to do for somebody to
    11     purchase a gun.      So, we're on the second gun here because both
    12     of my clients are --
    13                THE COURT:     Well, okay, let me back up.          I mean are
    14     you making just an as-applied challenge here?              That's what it
    15     sounds like you're saying.
    16                MR. BECK:     No, we're making both a facial and
    17     as-applied challenge, Your Honor.
    18                THE COURT:     All right.      Okay.    Go ahead.     So let's
    19     just talk about generically.          I don't want to talk about your
    20     clients.    Let's just talk generically if you buy a handgun.
    21     What is the process?
    22                MR. BECK:     Okay.    First you have to take the state
    23     mandated handgun course.         After you've satisfied those
    24     requirements, you have to go to the gun store and basically
    25     pick out your gun.       After that you go to the station and you




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     1     fill out a -- the application.          Then --
     2                THE COURT:     Let me stop you.        And that has to be at
     3     the station?
     4                MR. BECK:     Yes, Your Honor.       And after that, you wait
     5     14 days.    And assuming that everything's okay after the 14-day
     6     waiting period, you come back to pick up the -- the permit and
     7     then you take the permit and go back -- you know, you go to the
     8     gun store.     In the case of a handgun, you get ten days to use
     9     it --
    10                THE COURT:     Okay, wait, wait.        Stop, stop, stop.         I
    11     thought the permit was being e-mailed now?
    12                MR. BECK:     That has not been implemented yet, Your
    13     Honor.    We're not sure when that will be.
    14                THE COURT:     Okay.    All right.
    15                MR. BECK:     And then you pick up the permit, go to the
    16     gun store, and then finally you go to the -- back to HPD for
    17     the -- for the -- to register the firearm.
    18                THE COURT:     And that requires the physical inspection?
    19                MR. BECK:     Yes, Your Honor.
    20                THE COURT:     Okay.    So, you're saying first you have to
    21     have a safety course.        You go to the gun store and purchase or
    22     put a downpayment, whatever it is, on a firearm, you don't pick
    23     it up, but you get all of the relevant information, the serial
    24     number, the make, model, et cetera, the information you need.
    25     You then fill out an application for a permit at the police




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      1    station.     And for handguns each gun is a separate permit, as I
      2    understand it, there's not a permit for several firearms, it's
      3    individual.
      4                Then HPD, or if it's HPD, whatever police department
      5    it is, will do the background check, the relevant background
      6    check.     There is a 14-day waiting period which allows that to
      7    happen, perhaps a cooling off period.             And then you're notified
      8    and you get the permit.         Right now it's in person, but you're
      9    saying maybe in the future it will be by e-mail, that's still
     10    to be worked out.        You then go to the gun store, back to the
     11    store, get the firearm.         And then I think it's five days you
     12    have to bring it to the police station for physical inspection.
     13    Is -- did I get that right, Mr. Beck, from your perspective?
     14                MR. BECK:     You did, Your Honor.        Yes, Your Honor.
     15                THE COURT:     Let me turn to Mr. Moser just on that and
     16    see if he agrees with that general process.
     17                MR. MOSER:     We do agree, Your Honor, yes.
     18                THE COURT:     All right.      And what's the status of the
     19    e-mail?     Just -- I mean it may not be that relevant to me, but
     20    that's being worked on right now?
     21                MR. MOSER:     Well, Your Honor, that's the City and
     22    County's process.        They said, if I recall correctly, and if I
     23    do not, perhaps Mr. Beck knows, that they would have that
     24    process available by December 31st of this year.
     25                THE COURT:     I see.     Okay.    So it's the plan for the




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      1    future anyways.
      2                MR. MOSER:     That is my understanding, yes, Your Honor.
      3                THE COURT:     Okay.    All right.      And you agree that you
      4    have to fill out the application at the police station?
      5                MR. MOSER:     Yes, Your Honor.
      6                THE COURT:     Okay.    All right.      Thank you.     That's
      7    useful to have that bullet point sort of understanding.
      8                All right.
      9                MR. BECK:     Should I continue, Your Honor?
     10                THE COURT:     Yes, I'm sorry, go ahead, yes.
     11                MR. BECK:     So, the bottom line here is under
     12    intermediate scrutiny, that requires the State to present
     13    evidence that these are -- satisfy important government
     14    interests.      And throughout their briefing there's been legal
     15    argument, there hasn't actually been a presentation of evidence
     16    that demonstrates the ten-day waiting period actually
     17    accomplishes anything.
     18                It's -- for example, the State reports, which the
     19    State has stipulated are true, shows that not a single handgun
     20    permit has been voided for malfeasance.              There have been quite
     21    a few where people simply weren't able to pick up which -- in
     22    the time, and that's cited to in the brief.               But there's not a
     23    single cited example of a person either -- of not being able
     24    to -- of having it voided in that time period.
     25                And this is the -- both laws at issue and they are




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      1    sort of prophylactic on prophylactic reasoning that the laws
      2    that the Supreme Court in -- sorry, McCutcheon -- I'm sorry, I
      3    cited that in my briefing.          I'm having a problem pronouncing
      4    it -- but had said needs to be looked at even under --
      5    extremely -- with quite a bit of scrutiny, with a heightened
      6    eye.
      7                Here there just -- there hasn't been any presentation
      8    of evidence --
      9                THE COURT:     All right.      Let me do this, Mr. Beck.           I
     10    want to break this argument up into the two -- the two
     11    provisions that are being challenged.             And I think I've heard
     12    enough from you on the first.           So I want to hear from Mr. Moser
     13    on that.     I'll give you a little rebuttal time and then we'll
     14    go to the in-person --
     15                MR. BECK:     Yes, thank you, Your Honor.
     16                THE COURT:     -- inspection.       I think it's best we break
     17    it up like that.       So I'm going to go ahead and turn to you,
     18    Mr. Moser.
     19                MR. MOSER:     Okay.    May I remain here, Your Honor?
     20                THE COURT:     It's totally up to you.         With COVID time
     21    people are free to sort of wherever you're comfortable.
     22                MR. MOSER:     Thank you.      I don't want to talk about
     23    things that the judge -- Your Honor doesn't really want to
     24    hear.    So I think --
     25                THE COURT:     Well, let me say this:         I am having




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      1    trouble with this historical record.
      2                MR. MOSER:     Oh.
      3                THE COURT:     You know, I do think Young suggests it's
      4    not that relevant.        It's not saying it's not -- it's not
      5    totally irrelevant.        I mean they didn't go that far, but, you
      6    know, Young did certainly suggest that it's -- it's less
      7    reliable evidence of the original meaning.               And what you have
      8    is Hawaii laws from the '30s and a handful of other states that
      9    have repealed those laws, I'm not sure of the relevance of
     10    that, maybe none, but, you know, only a handful of other
     11    states.     So I have to say it's not overwhelming.              I think you
     12    probably recognize that, Mr. Moser, as far as the quantum of
     13    evidence you presented in that regard.
     14                MR. MOSER:     Well, I'd like to begin, Your Honor, by
     15    saying -- stating a rebuttal, if you call it that, to something
     16    that Mr. Beck said about the Young versus Hawaii case.                  I think
     17    he's, with respect, I think Mr. Beck is overstating that
     18    portion of the Young hearing.           Yeah, they do say that it's not
     19    really that -- how shall I put this most succinctly?
     20                Young primarily relied on the statute of Northampton
     21    from England which was enacted in 1328.              So, I can fully
     22    understand the Ninth Circuit saying in passing, Well, we don't
     23    really need to look at things that happened only a hundred
     24    years ago.
     25                THE COURT:     Well, but they also say it's less reliable




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      1    as evidence of the original meaning, right?               So they're going
      2    back to, you know, this after-the-fact evidence has to be
      3    evidence that relates back, right?             So I can accept that it may
      4    be relevant.      The Ninth Circuit didn't say you ignore it.
      5                MR. MOSER:     That's true.
      6                THE COURT:     Right?
      7                MR. MOSER:     Yes.
      8                THE COURT:     I'm just saying I don't think you have
      9    enough here to convince me.
     10                MR. MOSER:     All right.      Well, the Everytown did submit
     11    their amicus brief.
     12                THE COURT:     Right.     Right.
     13                MR. MOSER:     One can analogize.        And I understand the
     14    difference between a militia and a private citizen owning
     15    firearms, but one can analogize to -- somewhat to those militia
     16    cases -- or, I'm sorry, to the militia laws that existed around
     17    the time of the founding that there were registration
     18    requirements.       So the concept at least of a registration
     19    requirement did not --
     20                THE COURT:     Well, Everytown really deals with the
     21    physical inspection, right?           I mean that's really what that
     22    brief is about, is the physical inspection.
     23                When did Hawaii first pass a law requiring physical
     24    inspection?      Not what the practice may have been actually, but
     25    actually passed a law?         That is the language in 134-3 --




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      1    there's a subsection here -- (c), as in Charlie, the last
      2    paragraph says:       "All other firearms and receivers registered
      3    under this section shall be physically inspected by the
      4    respective county chief of police or their representative at
      5    the time of registration."          Mr. Beck says that's 2020.
      6                MR. MOSER:     Yeah, I'm looking, if I might, Your Honor,
      7    at the brief we submitted to find out when that law first --
      8                THE COURT:     I don't think your brief says it.            I think
      9    Mr. Beck's does.       Unless I missed it, Mr. Moser.
     10                MR. MOSER:     The statute in 1930 -- during the 1933,
     11    1934 special session refers to registration within ten days.                   I
     12    don't immediately find the inspection --
     13                THE COURT:     Right, because that's core of his
     14    argument, right, the burden is the having to get whether it be
     15    in a car or a bus or whatever it is and get, you know,
     16    physically to, in the case of Oahu, HPD.
     17                MR. MOSER:     Well --
     18                THE COURT:     I mean I can figure that out myself, but
     19    he says it's 2020 and -- so the way I looked at it is you were
     20    sort of arguing, and tell me if I'm wrong, that the validity of
     21    the permit for ten days, that goes back to 1933 and you cited
     22    some other courts that had -- I'm sorry, some other states that
     23    had similar laws.        You were arguing from that there's a
     24    historical record from which I can draw a conclusion.
     25                MR. MOSER:     I am and not only --




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      1                THE COURT:     Let me -- I just want to make sure I
      2    understand your argument.          And then for the physical inspection
      3    requirement, it's really more Everytown's argument, I think,
      4    that takes me back historically.
      5                Now, overlaying all of that you talk about generic
      6    findings of the legislature about safety of the public and so
      7    forth.
      8                MR. MOSER:     Yes.
      9                THE COURT:     So is that fair as far as what your
     10    arguments are?
     11                MR. MOSER:     It is, Your Honor.
     12                THE COURT:     Okay.    All right.      Okay.
     13                MR. MOSER:     I would say that in addition to the
     14    cases -- I'm sorry, the states that we cited to that had laws
     15    dealing with registration and acquisition in our brief, and
     16    those specifically are Massachusetts, Missouri, Arkansas and,
     17    -- I'm sorry, I'm blanking on the other one.                But there is in
     18    the Heller case, which we did cite and I guess we'll call this
     19    Heller 2, this is the one from 2011 from the district court,
     20    they did cite a number of other states which had registration
     21    laws.    So I didn't want the Court to -- to think that we could
     22    only find four.       We did find four other ones.
     23                THE COURT:     Yeah, but I think saying a registration
     24    law is just too broad.         I mean it's the -- it's the ten-day,
     25    the validity of a permit being ten days that's in challenge




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      1    here, not the need for a permit is not challenged.
      2                MR. MOSER:     Yes, and I will -- I will admit that there
      3    are not a plethora of state statutes --
      4                THE COURT:     Right.
      5                MR. MOSER:     -- from a hundred years ago which talk
      6    about -- although we did find one or two, and one was specific
      7    and is the same as Hawaii's, you have ten days to acquire.
      8                But I have to, I do admit that there are not a lot of
      9    other state statutes from that period of time.
     10                THE COURT:     Okay.    So let's turn to the intermediate
     11    scrutiny then on the ten-day period.
     12                MR. MOSER:     Yes.    So --
     13                THE COURT:     And help me understand.         First of all,
     14    it's true, you present no evidence, right?               You don't present
     15    legislative history, you don't present an expert witness,
     16    anything, you don't present declaration from a chief of police,
     17    you don't present -- I mean it's -- you're asking me to rely on
     18    common sense essentially; is that fair?
     19                MR. MOSER:     We do cite some statutory history, but,
     20    but yes, you're right, we don't have the other categories of
     21    evidence.
     22                THE COURT:     But again, that's really broad about
     23    safety.     There's no legislative history that you cited at least
     24    that says this ten-day period is important because here's what
     25    can happen outside of ten days, you know, anything of that




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      1    sort.
      2                MR. MOSER:     That's correct.
      3                THE COURT:     Right?     It's not your fault, it's just
      4    what it is.      Right?
      5                MR. MOSER:     Thank you, Your Honor, yes.
      6                THE COURT:     And so, the way I read it at least, what
      7    you're really arguing is for me to draw sort of common sense
      8    reasonable inferences from the law and the overreaching goal of
      9    the law to provide safety.
     10                MR. MOSER:     Yes.    That -- yes.
     11                THE COURT:     Okay.    So let's now bear down on that a
     12    little bit and tell me what that common sense -- because I'm
     13    not sure I fully understand it, Mr. Moser, the staleness
     14    argument that you're making.           So maybe you can help me with
     15    that.
     16                MR. MOSER:     Well, if we're talking about intermediate
     17    scrutiny, Your Honor, I would say this:              HRS 134-2 and -3 do
     18    not constitute a ban on the possession of firearms.                 Nowhere,
     19    speaking of evidence, do the plaintiffs present any evidence or
     20    even allege that the provisions at issue prevent them from
     21    obtaining firearms.
     22                THE COURT:     Right, and that's why I said intermediate
     23    scrutiny applies and that's why you argue intermediate scrutiny
     24    applies.
     25                MR. MOSER:     Because the inconvenience, which they




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      1    referred to as inconvenient, very convenient, not very easy,
      2    depends where you look in the brief, inconvenience is not a
      3    substantial burden.        Having to take off -- time off work is not
      4    a substantial burden.
      5                THE COURT:     Right, and that's why I agree with you
      6    intermediate scrutiny applies.           So I'm not sure what your
      7    argument is there.        I mean I'm agreeing with you on that.
      8                MR. MOSER:     All right.      Then I will move on, Your
      9    Honor.
     10                Well, going back to the legislative history, in as
     11    early as 1919, the -- with regard to permits to acquire, the
     12    legislature said that this amendment will enable the police
     13    authorities to have a better supervision and check over the
     14    sale of firearms.
     15                THE COURT:     But again, the ten-day -- that doesn't
     16    answer the ten-day period, right?            That's the challenge.
     17    There's not a challenge as to registration, as to permit.                      It's
     18    that it expires in ten days.           You have the 14-day cooling off
     19    period, background check period, whatever you want to call it,
     20    and then tacked on to that is ten days, after that the permit
     21    is invalid and you have to start the process over again.
     22                MR. MOSER:     Yes.    Well, the plaintiffs did present to
     23    the Court in their moving papers the firearms reports for the
     24    last four years, 2020, '19, '18 and '17.              And they said right
     25    off the bat that, well, look, last year, for example, 357




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      1    permits were voided because the people didn't come back to pick
      2    them up within the ten days.           And initially that looks kind
      3    of -- it looks like a lot.          And then when you look at how many
      4    people applied, however, there were 20 -- or how many permits
      5    were issued, there were over 26,000.             So when we talk about 357
      6    permits being voided for the applicant failing to go back
      7    within the ten days to pick up the permit, we're only talking,
      8    depending on the year, an average of 2 percent.                The lowest
      9    that they cited was 1.4 percent, the highest as I recall off
     10    the top of my head was two point --
     11                THE COURT:     And what do I do with that evidence?                What
     12    does that mean as far as application of intermediate scrutiny?
     13                MR. MOSER:     Well, what that means is that it is not a
     14    substantial burden.        98 percent of the Hawaii applicants are
     15    able to go down to HPD or whichever county they live in and
     16    applied to --
     17                THE COURT:     Wait a minute, are you arguing that no
     18    scrutiny applies at all now?           Are you making a different
     19    argument?
     20                MR. MOSER:     No, I'm not, and I'm sorry if I'm --
     21                THE COURT:     So I don't understand what the substantial
     22    burden argument is.        I mean the intermediate scrutiny test is
     23    that the statutory objective must be significant, substantial
     24    or important, and there's a reasonable fit between the law and
     25    that objective.       So I'm just asking where does this 2 percent




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      1    figure, how does that play into this intermediate scrutiny
      2    test?
      3                MR. MOSER:     Well --
      4                THE COURT:     See, here's what I'm having trouble with,
      5    let me just lay it out for you, okay, which is -- and I don't
      6    have the exact language you had in your brief in front of me
      7    here.    Let me see if I can find it.
      8                So, the State interest, you say at least in part,
      9    right, is to make sure the information is not stale on the
     10    permit, right?
     11                MR. MOSER:     Yes.
     12                THE COURT:     And that somebody could become
     13    disqualified, therefore we have a short period that the permit
     14    is valid.     Do I have that essentially right?
     15                MR. MOSER:     Yes, Your Honor.
     16                THE COURT:     But aren't you by having a ten-day -- I
     17    mean it just seems to me by having a 10-day period you're just
     18    forcing people into getting that gun sooner and then you could
     19    have somebody -- so let's say you have a -- normally we have a
     20    90-day period in which a permit is valid, right?
     21                MR. MOSER:     Yes.
     22                THE COURT:     And is one option.        Right now the law says
     23    ten.
     24                MR. MOSER:     Yes.
     25                THE COURT:     And let's say they -- you know, 30,




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      1    somewhere in between those, somebody becomes disqualified for
      2    some reason, whatever that reason is.             It just seems to me more
      3    people are going to have guns who are disqualified under the
      4    ten-day permit period because you're forcing people to get the
      5    guns within ten days and they've become disqualified
      6    afterwards, they have the gun.           And that certainly isn't a
      7    substantial interest for the State nor a good fit.
      8                So I just have trouble understanding the staleness
      9    argument other than it's just a statement but without any sort
     10    of support in reality.         It sort of seems a little untethered to
     11    in real life it seems to me.
     12                MR. MOSER:     Well, Your Honor, I'm sorry, I don't know
     13    what I can add to what we've submitted in writing.
     14                THE COURT:     Okay.    So, is there -- the other thing in
     15    my mind I'm kicking around, and this may or may not apply to
     16    one or both of these, is if I do grant the motion at all,
     17    Mr. Moser, do you have a view on what I should do, if anything,
     18    regarding the timing, the effectiveness of that order?                  In
     19    other words, I don't want to throw a whole system into
     20    disarray.     If I were to say, for instance, there is no
     21    sufficient fit that has been described for this ten-day period,
     22    it would be up to the legislature to fix that, however they see
     23    fit, right?
     24                MR. MOSER:     And we would hope that they would do so,
     25    although as I think Your Honor will recall in some other Second




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      1    Amendment cases that Mr. Beck and I have worked on, that
      2    sometimes we get rulings and then we go to the legislature and
      3    submit bills to -- to make the statute in conformity with the
      4    Court's rulings and, you know, we can only do what we in the
      5    executive branch --
      6                THE COURT:     Well, I understand that and I think you're
      7    talking about the issue of the, like, green card holders and --
      8                MR. MOSER:     And the national -- the U.S. national --
      9                THE COURT:     U.S. nationals in American Samoa, right.
     10    But I guess I'm just saying in the normal course the way this
     11    would work is if I were to strike down the ten-day period,
     12    would you be asking for a stay?            I mean what -- how would you
     13    see us proceeding?
     14                MR. MOSER:     Yes, I -- since Your Honor asked, I
     15    believe that is what our office would do is we would ask for a
     16    stay and then --
     17                THE COURT:     So I mean maybe the conservative course
     18    for me, I can hear from you on this, Mr. Beck, maybe the
     19    conservative course is I could put out a ruling, not make it
     20    effective immediately but ask for briefing on the stay issue is
     21    one thing I could do if I grant on this -- on this ten-day
     22    period.
     23                MR. BECK:     Do you want me to respond, Your Honor?
     24                THE COURT:     Yeah, yeah, go ahead.         Go ahead.
     25                MR. BECK:     Sorry.    Sorry.     So I'd direct the Court to




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      1    Moore v. Madigan, which is a Seventh Circuit case that -- where
      2    there was a complete ban on handgun carrying and the Seventh
      3    Circuit struck that as unconstitutional.
      4                I believe they -- it was at least six months that the
      5    legislature was given.         And I don't remember off the top of my
      6    head whether the State filed for a stay or whether that was
      7    something the court did sua sponte, but I would direct the
      8    Court to the Seventh Circuit's opinion in Moore v.                 Madigan to
      9    use as a template for what it could use, assuming that it's
     10    amenable to grant this motion.
     11                THE COURT:     Okay.    I appreciate that, Mr. Beck.           I'll
     12    take a look at that.         And if I need help from you folks in
     13    writing on this I'll let you know, if this is where I go.                      I
     14    can sort of be back in touch with you and ask for more.                   And
     15    maybe you folks could agree on something, too.                I mean, you
     16    know, that's another way to -- to look at this and just see if
     17    there's any agreement as to process going forward if I strike
     18    down one or both of these provisions.             Okay.
     19                MR. BECK:     Yes, Your Honor.       We'd be happy to --
     20                THE COURT:     All right.      All right.     What I don't want
     21    to do, I'm pretty conservative on this, I don't want to throw a
     22    whole registration process into disarray and no one know what
     23    to do.     That's what I don't want to have happen if I strike
     24    down any of this, Mr. Moser.           And I'm letting you know that,
     25    that's not my intent here to do.            Instead -- and I think




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      1    Mr. Beck probably agrees with this as well, you know, you want
      2    an orderly process by which things can be fixed if there's a
      3    problem.
      4                Now, if the legislature refuses to do it, then that's
      5    a whole different matter.          I mean that's sort of on the
      6    legislature at that point in time if we get there, but I have
      7    no reason to believe they wouldn't do what's appropriate if
      8    they understand, you know.          Because the other issue deals with
      9    the limited number of people.           This deals with everyone just
     10    trying to get a firearm, right, and the registration process.
     11    And so you'd think the legislature would want to take a hard
     12    look at that and -- and, you know, consult with your office as
     13    to what would be constitutional, all those things, right, that
     14    should happen.       But I have no interest in throwing a whole
     15    system into disarray where no one knows how to then go about a
     16    permitting or registration process.
     17                MR. MOSER:     I understand, Your Honor.          Thank you.
     18                THE COURT:     Okay.    All right.      Let's move on then to
     19    the second -- the second part of the challenge, which is the
     20    in-person inspection of the firearm.             Mr. Beck, your -- you
     21    said that was enacted just in 2020, is that your understanding?
     22                MR. BECK:     Yes.    Yes, it is, Your Honor.
     23                THE COURT:     And before that the law didn't have
     24    that -- the language that I read earlier, it was -- it was --
     25    I've not gone back to look as to what the law was before.




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      1                MR. BECK:     That is correct.       That was enacted by the
      2    legislature in 2020.         Prior to that it did not mention that.
      3                THE COURT:     And is there no legislative history as to
      4    the reason for this?
      5                MR. BECK:     Not that I'm aware of.         Perhaps Mr. Moser
      6    might be able to comment on that, but I'm aware of.
      7                THE COURT:     Mr. Moser, are you aware of any
      8    legislative history as to this 2020 change, have you looked?
      9                MR. MOSER:     I have looked and I'm not aware of the
     10    history, any legislative history on that.               It seems, but I
     11    don't want to speculate, that this issue came up in connection
     12    with ghost guns, as they're called.             And that the legislature
     13    seemed to feel that it was necessary to, since the invention,
     14    if you will, of ghost guns that those need to be inspected.                    So
     15    the language did change.          It was amended in 2020.
     16                THE COURT:     Okay.    All right.      But you don't think
     17    there's legislative history that says, you know, we have a
     18    problem with ghost guns?
     19                MR. MOSER:     Not that we found, no, Your Honor.
     20                THE COURT:     Okay.    All right.      Okay.    Go ahead,
     21    Mr. Beck.
     22                MR. BECK:     Yes, Your Honor.       In order to purchase a
     23    firearm from a FFL in Hawaii, after you purchase it, the FFL
     24    will submit the information to the respective county office,
     25    police station.       And if you're doing a person to person -- if




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      1    me and Mr. Moser are exchanging guns, is what a person to
      2    person is -- then both parties have to submit the information
      3    to HPD.     So, in order to sell -- I'm aware that the State takes
      4    the position that we need this in-person registration to -- in
      5    order to verify that a mistake has been made, but that's just
      6    -- again, under intermediate scrutiny there has to be
      7    substantial evidence.        There's absolutely no evidence of that.
      8    And in every state in the union FFL's who are under pretty
      9    strenuous requirements by the ATF are able to successfully, you
     10    know, do this.      And it's something that isn't an issue.
     11                And again, you'd have to expect that both people --
     12    and person-to-person transfers are the -- I don't know how much
     13    that is exactly in Hawaii but just as a general rule is, you
     14    know, for a very small portion, you still would have to believe
     15    that both parties are given that information.               That's just
     16    something that isn't the case.           I mean -- and if it had been,
     17    the State would have been able to produce some type of
     18    evidence.
     19                And, you know, I don't want to rehash too much what's
     20    already in the briefing, but, you know, the D.C. Court of
     21    Appeals has already looked at this exact same thing and just
     22    found it's not an issue under intermediate scrutiny, which is
     23    what the court applied in Heller.            So --
     24                THE COURT:     So I think, you know, Mr. Moser is, as he
     25    sort of admitted, you know, in part relying on just sort of




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      1    asking me to draw some common sense conclusions.                And there is
      2    some law, I'm not sure in the Ninth Circuit but other circuits,
      3    that say intermediate scrutiny you can at some level look at
      4    common sense.      And that does ring true.         I mean you could have
      5    a very common sense gun law.
      6                Let me just give you an example.           Firearms need to
      7    have serial numbers, for instance.            And, you know, I don't know
      8    if anyone has challenged that or not, I don't remember, but
      9    just that basic thing that every firearm has to have a serial
     10    number, you know, do you need more than just the common sense,
     11    Well, that's how we trace crimes in the United States, gun
     12    crimes in the United States, by serial numbers, and therefore
     13    it's important every gun have a serial number.               And you don't
     14    need actual evidence.        You don't need, whether it be, you know,
     15    a legislative history, whether it be, you know, a declaration
     16    from the chief of police saying there's a problem, whether it
     17    be a, you know, expert report or studies, whatever the case may
     18    be.    So -- but is -- first of all, do you disagree with that,
     19    Mr. Beck, as a general rule as far as how I look at this?
     20                MR. BECK:     I do, Your Honor.       I believe the Supreme
     21    Court's precedent just within the context of intermediate
     22    scrutiny, it's fairly clear the burden is on the State to
     23    produce some evidence.
     24                THE COURT:     Right.    And that evidence can be common
     25    sense, but it's just here you're saying that's not the case.




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      1    They need to present actual evidence, not just supposition; is
      2    that sort of what you're --
      3                MR. BECK:     That's correct, Your Honor.
      4                THE COURT:     Okay.    All right.     Okay.    I mean that's
      5    what I thought your argument was, I just wanted to make sure.
      6                All right.     Let me turn to Mr. Moser then on this.
      7                MR. MOSER:     Well, I think --
      8                THE COURT:     I mean the problem I'm having, Mr. Moser,
      9    you know, you didn't present anything from the chief of police,
     10    for instance, just even a declaration saying here's the
     11    problem.     Right?    You're just asking us, me, to draw sort of a
     12    common sense conclusion without actual evidence.
     13                MR. MOSER:     Yes, Your Honor, that's correct.           But, you
     14    know, I don't think that a declaration -- a declaration could
     15    be helpful.      I don't and wouldn't disagree with that, but I
     16    think it is certainly common sense.            And we can't -- we can't
     17    assume that everyone who wants a firearm is a law-abiding
     18    citizen like I understand these two plaintiffs to be.                 It sort
     19    of ignores reality to think that, oh, someone who gets a gun,
     20    so and so is going to provide accurate information to HPD.
     21                So I think that the in-person inspection protects
     22    public safety by ensuring that, you know, the information is
     23    correct.     It's, you know, the right serial number and so forth,
     24    that it complies with Hawaii law, that it's not --
     25                THE COURT:     Isn't there some case law that says we do




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      1    assume the buyers are law-abiding?            I thought there was some
      2    case law like that?
      3                MR. MOSER:     I'm sorry, Your Honor, I'm not --
      4                THE COURT:     I can take a look and if I need help I'll
      5    let you know.      I may be thinking of something else, but it
      6    just -- in the back of my mind, Mr. Moser, I think -- and I
      7    don't even know if it was the Ninth Circuit, I just remember
      8    reading somewhere that you work under the assumption that you
      9    have a law-abiding citizen going through this process.
     10                MR. MOSER:     And Your Honor has already mentioned about
     11    the need to facilitate tracing by law enforcement.                And we --
     12                THE COURT:     But what you don't have is, has there ever
     13    been a problem with this, right?           In other words, have serial
     14    numbers ever gotten transposed.           I have nothing.       I don't know.
     15    And if the answer is no, then your whole argument sort of falls
     16    apart.    So that's the problem I'm having.
     17                But I'm also wondering if you didn't present enough,
     18    and I don't know, to deny both Motions for Summary Judgment,
     19    say there has to be a trial on this issue.              But I don't know if
     20    there's more evidence you could present if the case went to
     21    trial or if what you have is sort of all there is, Mr. Moser.
     22                MR. MOSER:     I don't know the answer to that, Your
     23    Honor, and I'm embarrassed to say that, but I don't know what
     24    declaration we might have gotten from, as you say, Your Honor,
     25    the chief of police or somebody within the HPD firearms unit.




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      1    It wouldn't have been impossible to approach them and get
      2    something, but of course this is not a as-applied challenge
      3    anymore.     It might be --
      4                THE COURT:     Well, Mr. -- Mr. Beck says it is an
      5    as-applied challenge.        Why don't you address that.
      6                MR. MOSER:     With all due respect to Mr. Beck, he's
      7    wrong.    It is abundantly clear, if nothing else that I've
      8    talked about this morning is clear, one thing that is clear is
      9    these are state statutes which very clearly say that it is the
     10    chiefs of police who issue the permits to acquire and to whom
     11    you -- with whom you register your firearm and have your
     12    firearm inspected.        At one time in this litigation these men,
     13    these plaintiffs who are from Oahu, sued not only the State
     14    through the Attorney General in her official capacity but the
     15    City and County as well and chose for whatever reason to settle
     16    with them and to dismiss them with prejudice.
     17                THE COURT:     "Them" meaning HPD?
     18                MR. MOSER:     I'm sorry?
     19                THE COURT:     You say "them," you mean HPD?
     20                MR. MOSER:     Yes.    I'm sorry.
     21                THE COURT:     Yes.
     22                MR. MOSER:     And more specifically the City and County
     23    of Honolulu.
     24                THE COURT:     Or the City and County.         Okay.
     25                MR. MOSER:     Yes, Your Honor.       I apologize.




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      1                So again, it's clear that on the face of these
      2    statutes that it is the City and County of Honolulu which
      3    executes these statutes.         So I don't believe there -- there
      4    is -- there can't be an as-applied challenge any longer.                  There
      5    was a viable one and not one against the State of Hawaii.                     It's
      6    our statute.      It's a State statute, but it's the City and the
      7    County chiefs of police who execute the statutes.
      8                THE COURT:     All right.     Well, take your best shot at
      9    articulating then the significant, substantial or important
     10    objective the government has in the physical inspection and
     11    then how that's a reasonable fit.            Go ahead and give me your
     12    best shot on that.
     13                MR. MOSER:     Okay.    Thank you, Your Honor.
     14                Well, the objective which courts have found is --
     15    is -- survives a -- an intermediate scrutiny is public safety.
     16    And I think the way that it promotes public safety is cited in
     17    the legislative history which we have cited in our briefs and
     18    as we've discussed a little bit this morning.
     19                There was an amendment to HRS 134-2 and -3 in 1990.
     20    And the legislative history, which we've attached to our
     21    concise statement as Exhibit O, just says in a sentence, this
     22    is the Senate Standing Committee Report:             "While your
     23    Committee" -- and this was an amendment, proposed amendment to
     24    keep firearms away from schools, you know, whatever it was, a
     25    hundred yards or 500 feet or whatever it was.




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      1                And the Senate committee said, quote:            While your
      2    Committee strongly agrees that our educational institutions
      3    should be places of sanctuary, we believe just as strongly that
      4    our entire community should be a safe place to live and learn
      5    and that everyone deserves to feel free from the threat of harm
      6    wherever they go.
      7                And I think we've already discussed and cited in our
      8    brief that it's -- it promotes public safety by making sure
      9    that the firearm that the person says they have is the firearm
     10    that they have, that it's registered to them, that the serial
     11    number is correct.        In the unfortunate event that it's used in
     12    a crime, then law enforcement can trace it.              And we've cited
     13    the case called U.S. versus Mobley which talks --
     14                THE COURT:     I guess the question I have is, is that
     15    enough?     And that's what I'm struggling with on this one.                  This
     16    is where I'm struggling.         Is that enough without any evidence
     17    behind that?      That this is a problem or is it a perceived
     18    problem.     And if it's a perceived problem, then I'm not sure
     19    you can prevail.
     20                MR. MOSER:     And just for clarification, Your Honor,
     21    when you say "it" being the problem, what --
     22                THE COURT:     The physical inspection.         In other words,
     23    the need to match up the firearm with what's on that permit or
     24    the registration, right, I guess is what it would be.
     25                MR. MOSER:     Well, then I guess that then takes us back




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      1    to the common sense that we were talking about earlier.
      2                THE COURT:     Right.    And then my question becomes, you
      3    know, is that enough to get you over the hurdle to get you to
      4    trial, just that part of it?          In other words, is there a
      5    genuine issue of material fact?           Now, if you say there's no
      6    other evidence I would have, then, you know, I don't know why I
      7    wouldn't just rule on summary judgment if that's the case.                    But
      8    if you think there could be other evidence, I'm not sure where
      9    I go with that.
     10                MR. MOSER:     Well, I -- I think that's all that we can
     11    say at this point, Your Honor.
     12                THE COURT:     Okay.    All right.
     13                MR. MOSER:     What we have is what we've given to the
     14    Court.
     15                THE COURT:     Okay.    All right.
     16                MR. MOSER:     I'm not aware of any other evidence.
     17                THE COURT:     And you just don't know if there would be
     18    other evidence at this stage?
     19                MR. MOSER:     That's correct, Your Honor.
     20                THE COURT:     Okay.    All right.     So I'll give you a few
     21    minutes for rebuttal, Mr. Beck, and then we'll wrap up here.
     22                MR. BECK:     Yes, thank you, Your Honor.         The first
     23    thing I would like to rebut is the fact that the -- there could
     24    be other people undergoing this process that aren't
     25    law-abiding.      You have to go through a 14-day, you know,




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      1    background check to undergo this process.              We've already
      2    covered that, so I don't want to -- but that's pretty
      3    comprehensive.      I mean sort of by definition.           By the time you
      4    got to this change you are a law-abiding citizen.
      5                I don't know off the top of my head, off the top of my
      6    head to answer the question that was being asked to Mr. Moser.
      7    I think that might be available in United States v. Chovan,
      8    which is the Ninth Circuit's Lautenberg case.               But -- and
      9    again, that's off the top of my head regarding whether there's
     10    a presumption that people need to be law-abiding.
     11                As to the as-applied issue, I think the most striking
     12    thing with their argument is they didn't cite to any case law
     13    on this that was relevant that I could see.              There's -- a
     14    pretty broad law that allows you to sue the -- sue the State
     15    for their laws and you're suing based upon that implementation.
     16    And I wasn't able -- and, you know, we cited to some law to
     17    support our position.        They didn't cite to anything.           And based
     18    upon that I think that's a failure -- that's a basis to say
     19    that argument has been waived.
     20                THE COURT:     Well, you know, I guess I'm -- I'll take a
     21    look at this as to whether I think there's an as-applied
     22    challenge.     I mean my instinct right now is there's not,
     23    Mr. Beck, I'll say that, that makes sense to me at least as
     24    opposed to just a facial challenge, but I will take a hard look
     25    at that.




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      1                MR. BECK:     Yes, thank you, Your Honor.         And as to the
      2    inspection, I mean this is the number one problem with the
      3    common sense issue.        If it's common sense, there needs to be
      4    some indication that this is an issue somewhere.                I mean even
      5    if you don't need to do a deep dive into -- I mean it would be
      6    a problem somewhere else in the country, whether it be just
      7    some indication here this being a problem.              That's why common
      8    sense can't be applied here because common sense says
      9    otherwise.     I mean it's just simply counterintuitive that just
     10    based upon what we know of the firearms industry in, you know,
     11    every state of the union.         So I mean beyond anything else,
     12    that's why because common sense does not say that this is an
     13    issue.
     14                THE COURT:     Mr. Moser, let me ask you, how do you
     15    address that?      I mean if no other state in the country has
     16    this, it does sort of cut against the common sense argument,
     17    right?    Because you think at least, even putting aside the, you
     18    know, territories, I mean you think at least -- and the
     19    District of Columbia, you think at least 49 other states, out
     20    of them there would be a handful at least that would have this,
     21    but apparently there's not.
     22                MR. MOSER:     Well, you know, I think Hawaii and
     23    Michigan are the only two left out of that list that we've
     24    provided to the Court from, you know, a hundred years ago.
     25                THE COURT:     No, I'm talking about the physical




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      1    inspection though, right?          Are there any other states that
      2    require physical inspection?
      3                MR. MOSER:     Not that I'm aware of, Your Honor.
      4                THE COURT:     Yeah, okay.     All right.      All right.
      5                MR. BECK:     I think Michigan actually repealed that
      6    law, Your Honor.
      7                THE COURT:     Okay.
      8                MR. BECK:     I'm -- outside of -- I'm happy to answer
      9    any other questions that the Court might have.               But if the
     10    Court does not, I'm willing to rest at this point, Your Honor.
     11                THE COURT:     All right.     Thank you, Mr. Beck.
     12                Given there were cross-motions Mr. Moser, I'll let you
     13    have the last word here if there's anything further you have.
     14                MR. MOSER:     Nothing further.       Thank you.
     15                THE COURT:     All right.     Thank you both very much.            I
     16    don't know if I'll need anything more from either of you.                     If I
     17    do, certainly I'll let you know.           And if I do end up at a point
     18    where I'm considering granting, I might ask -- reach out to
     19    both of you and ask you if you can agree to some language as to
     20    maybe how we can make sure if I grant in part or in whole that
     21    we don't, you know, disrupt the overall permitting and
     22    registration process.        Okay?    And so you can give some thought
     23    to that.     Okay?
     24                MR. MOSER:     Yes.
     25                THE COURT:     All right.     Thank you all very much.




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      1                MR. BECK:     Thank you, Your Honor.        Have a good day.
      2                (The proceedings concluded at 10:56 a.m.,
      3    June 28, 2021.)
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      2
      3                I, CYNTHIA FAZIO, Official Court Reporter, United
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     13                                   /s/ Cynthia Fazio
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